Case 2:22-cv-11850-MFL-EAS ECF No. 21, PageID.1736 Filed 03/08/23 Page 1 of 13




               IN THE UNITED STATES DISTRICT COURT
              FOR THE EASTERN DISTRICT OF MICHIGAN

 ARLEEN KOSAK,                                )
 individually and on behalf of all others     )
 similarly situated,                          )
                        Plaintiff,            ) Case No. 2:22-cv-11850-MFL-EAS
                                              )
       v.                                     ) Hon. Matthew F. Leitman
                                              )
 NEW YORK MEDIA HOLDINGS, LLC,                )
                Defendant.                    )
                                              )
                                              )

        DEFENDANT NEW YORK MEDIA HOLDINGS, LLC’S
     MOTION FOR LEAVE TO FILE SUPPLEMENTAL AUTHORITY

      Defendant New York Media Holdings, LLC (“NYMH”) respectfully moves

the Court for leave to file the recent decision in Bozung v. Christianbook, LLC, No.

1:22-cv-304, slip op. (W.D. Mich. Mar. 7, 2023), ECF 51, as supplemental authority

in further support of NYMH’s Opposition to Plaintiff’s Motion to Amend her First

Amended Complaint (ECF 17).

      Pursuant to Local Rule 7.1(a), Defendant’s counsel certifies that on March 8,

2023 they communicated with Plaintiff’s counsel, explaining the nature of the relief

sought in this Motion and seeking concurrence in that relief. Plaintiff’s counsel

stated that Plaintiff does not oppose NYMH’s request to file supplemental authority

but requested an opportunity to respond. NYMH does not oppose Plaintiff’s request.
Case 2:22-cv-11850-MFL-EAS ECF No. 21, PageID.1737 Filed 03/08/23 Page 2 of 13




Dated: March 8, 2023                Respectfully submitted,



                                    /s/ Kristen C. Rodriguez
                                    DENTONS US LLP
                                    Kristen C. Rodriguez
                                    Emily A. Golding
                                    233 S. Wacker Drive, Suite 5900
                                    Chicago, Illinois 60606-6404
                                    Tel: (312) 876-8000
                                    kristen.rodriguez@dentons.com
                                    emily.golding@dentons.com

                                    Deborah H. Renner
                                    1221 Avenue of the Americas
                                    New York, New York 10020-1089
                                    Tel: (212) 398-5793
                                    deborah.renner@dentons.com

                                    CLARK HILL PLC
                                    Peter B. Kupelian (P31812)
                                    Carol G. Schley (P51301)
                                    151 South Old Woodward Avenue,
                                    Suite 200
                                    Birmingham, Michigan 48009
                                    Tel: (248) 530-6336
                                    pkupelian@clarkhill.com
                                    cschley@clarkhill.com

                                    Counsel for Defendant
                                    New York Media Holdings, LLC




                                      2
Case 2:22-cv-11850-MFL-EAS ECF No. 21, PageID.1738 Filed 03/08/23 Page 3 of 13




               IN THE UNITED STATES DISTRICT COURT
              FOR THE EASTERN DISTRICT OF MICHIGAN

 ARLEEN KOSAK,                 )
 individually and on behalf of all others
                               )
 similarly situated,           )
                        Plaintiff,
                               ) Case No. 2:22-cv-11850-MFL-EAS
                               )
     v.                        ) Hon. Matthew F. Leitman
                               )
 NEW YORK MEDIA HOLDINGS, LLC, )
                Defendant.     )
                               )
                               )


 BRIEF IN SUPPORT OF DEFENDANT NEW YORK MEDIA HOLDINGS,
 LLC’S MOTION FOR LEAVE TO FILE SUPPLEMENTAL AUTHORITY
Case 2:22-cv-11850-MFL-EAS ECF No. 21, PageID.1739 Filed 03/08/23 Page 4 of 13




                    STATEMENT OF ISSUE PRESENTED

1.    Whether this Court should grant leave to Defendant to submit supplemental
      authority in support of its Opposition to Plaintiff’s Motion to Amend her First
      Amended Complaint when that authority is directly on point as to the legal
      issues raised in Defendant’s Opposition.

      Defendant’s Answer: YES.




                                         i
Case 2:22-cv-11850-MFL-EAS ECF No. 21, PageID.1740 Filed 03/08/23 Page 5 of 13




 STATEMENT OF CONTROLLING/MOST APPROPRIATE AUTHORITY

   The controlling authority for this Motion includes:

   1. Bozung v. Christianbook, LLC, No. 1:22-cv-304 (W.D. Mich. Mar. 7, 2023).

   2. Riverview Health Institute LLC v. Medical Mutual of Ohio, 601 F.3d 505, 520
      (6th Cir. 2010).




                                         ii
Case 2:22-cv-11850-MFL-EAS ECF No. 21, PageID.1741 Filed 03/08/23 Page 6 of 13




                               INTRODUCTION

      Defendant New York Media Holdings, LLC (“NYMH” or “Defendant”)

respectfully seeks leave to submit the recent decision in Bozung v. Christianbook,

LLC, No. 1:22-cv-304 (W.D. Mich. Mar. 7, 2023), ECF 51, (attached as Exhibit 1)

as supplemental authority in support of NYMH’s Opposition (ECF 18,

“Opposition”) to Plaintiff’s Motion to Amend her First Amended Complaint (ECF

17, “Motion to Amend”).

      Bozung was issued by Judge Jarbou, the Chief Judge in the Western District

of Michigan, and involved nearly identical allegations and claims under the pre-July

31, 2016 version of Michigan’s Preservation of Personal Privacy Act, M.C.L. §

445.1711, et seq. (the “PPPA”). Judge Jarbou’s decision is directly relevant to the

issues before this Court related to Plaintiff’s Motion to Amend. Specifically, Judge

Jarbou dismissed the operative complaint in Bozung for the exact reasons set forth

in NYMH’s original motion to dismiss (ECF 16), which were repeated in its

Opposition to the Motion to Amend. In sum, Judge Jarbou’s opinion makes clear

that Plaintiff’s proposed Second Amended Complaint (“SAC”) could not withstand

a motion to dismiss under Federal Rule of Civil Procedure 12(b)(6). The Court

should therefore grant this Motion for Leave to submit Bozung as supplemental

authority in support of NYMH’s Opposition to Plaintiff’s Motion to Amend.




                                         1
Case 2:22-cv-11850-MFL-EAS ECF No. 21, PageID.1742 Filed 03/08/23 Page 7 of 13




                                    ARGUMENT

      NYMH opposed Plaintiff’s Motion to Amend on several bases, including that

the SAC would not survive a motion to dismiss under Rule 12(b)(6). See Riverview

Health Inst. LLC v. Med. Mut. of Ohio, 601 F.3d 505, 520 (6th Cir. 2010) (finding

that “[a] proposed amendment is futile if the amendment could not withstand a Rule

12(b)(6) motion to dismiss”) (quotations and citations omitted). Specifically, the

Opposition argued that the SAC, like the First Amended Complaint (“FAC”), failed

to allege plausible claims against New York Media, LLC (“NYM”) and that the

original complaint was untimely. (Opp., ECF 18, PageID.1690-95, 1697-1702.)

      As was true of the operative complaint in Bozung, Plaintiff’s proposed SAC

sets forth allegations made on “information and belief” that the proposed Defendant,

NYM, “rented, exchanged, and/or otherwise disclosed detailed information about

Plaintiff’s New York magazine subscription to data aggregators, data appenders, data

cooperatives, and list brokers, among others . . . during the relevant pre-July 31, 2016

time period.” (Compare Proposed SAC, ECF 17-1, PageID.1143-44 with Bozung,

Am. Compl., ECF 11, PageID.582-83.) To support her claims, Plaintiff here relies

solely on legal conclusions that NYM “systematically violat[ed] the PPPA”

(Proposed SAC, ECF 17-1, PageID.1151), as well as a purported “data card”

published by a third-party broker, NextMark, which allegedly offers for sale a

mailing list of “mail order responsive subscribers” to New York magazine. (Id.,




                                           2
Case 2:22-cv-11850-MFL-EAS ECF No. 21, PageID.1743 Filed 03/08/23 Page 8 of 13




PageID.1145 and Ex. A.) That data card indicates that it is offering information

allegedly related to subscriber counts “through 4/28/2022.” Nearly identical legal

conclusions, as well as a similar NextMark data card, were relied upon by the

plaintiff in Bozung to support his claims. (See Bozung, Am. Compl., ECF 11,

PageID.584 and Ex. A, data card including subscriber counts “through 02/28/2022”;

PageID.592.)

      Relying on the recent decision in Nashel v. The New York Times Co., No.

2:22-cv-10633, 2022 WL 6775657 (E.D. Mich. Oct. 11, 2022), Judge Jarbou found

that the operative complaint in Bozung did not sufficiently allege the defendant had

disclosed the plaintiff’s data in violation of the PPPA. She determined that the

plaintiff’s allegations pled “on information and belief” did not meet the pleading

standards set forth in Ashcroft v. Iqbal, 556 U.S. 662 (2009) and Bell Atlantic Corp.

v. Twombly, 550 U.S. 544, 555 (2007). See Ex. 1, at 10 (“[A]llegations based solely

on belief ‘are precisely the kinds of conclusory allegations that Iqbal and Twombly

condemned and thus told us to ignore when evaluating a complaint’s sufficiency.’”)

(quoting 16630 Southfield Ltd. P’ship v. Flagstar Bank, F.S.B., 727 F.3d 502, 506

(6th Cir. 2013)). Moreover, Judge Jarbou determined that the 2022 data card did “not

suffice to create a plausible inference that [defendant] disclosed [plaintiff’s]

information during the relevant time period” (Ex. 1, at 10), because the plaintiff’s

“skeletal allegations do not permit a reasonable inference that a datacard like the one



                                          3
Case 2:22-cv-11850-MFL-EAS ECF No. 21, PageID.1744 Filed 03/08/23 Page 9 of 13




available in 2022 was also available in 2016” and the plaintiff’s allegations “amount

to ‘naked assertion[s]’ devoid of ‘further factual enhancement’ that do not suffice to

state a claim.” Id., at 9 (quoting Iqbal, 556 U.S. at 678). The same is true here,

demonstrating the futility of the SAC. This Court should consider the decision in

Bozung persuasive in determining whether Plaintiff should be allowed to amend her

FAC because the proposed SAC would not survive a Rule 12(b)(6) motion.

      In finding that the plaintiff’s deficient allegations did not state a claim under

the PPPA, Judge Jarbou squarely rejected the reasoning in a recently issued report

and recommendation regarding another PPPA plaintiff’s claims. In Briscoe v. NTVB

Media Inc., No. 4:22-cv-10352 (E.D. Mich. Mar. 3, 2023), ECF 41, Magistrate Judge

Kimberly G. Altman recommended denying a publisher’s motion to dismiss based

on her rejection of the Nashel opinion. Instead, Judge Altman relied on a 2018

decision from the Western District of Michigan where the judge found the PPPA

plaintiff’s allegations sufficient to withstand a motion to dismiss. See Briscoe, ECF

41, PageID.2694-98 (relying on Horton v. GameStop Corp., 380 F. Supp. 3d 679,

682 (W.D. Mich. 2018)). Judge Altman made this determination despite the fact that

the arguments before the Horton court differed from those made both before Judge

Murphy in Nashel and before her. Judge Altman ultimately determined, without

reasoning, that Horton was “more persuasive” than Nashel and denied the motion to

dismiss. See Briscoe, ECF 41, PageID.2697. In Bozung, however, Judge Jarbou



                                          4
Case 2:22-cv-11850-MFL-EAS ECF No. 21, PageID.1745 Filed 03/08/23 Page 10 of 13




 made clear that she disagreed with Judge Altman’s rejection of Nashel.1 See Ex. 1,

 at 10 (“The Court disagrees with th[e] conclusion [in Briscoe]”) ).

       Judge Jarbou applied the “COVID tolling” that Plaintiff advocates for in this

 case. However, she did not state her reasoning in any detail. Nor does the ruling

 consider that Carter v. DTN Management Co., No. 360772, 2023 WL 439760 (Mich.

 Ct. App. Jan. 26, 2023) found the COVID-19 Orders to be procedural in nature,

 which means that federal common law applies, not state tolling law. See Carter,

 2023 WL 439760, at *4. (See also Opp., ECF 18, PageID.1689-95.) In any event, in

 Bozung, the original complaint was filed prior to the July 30, 2022 deadline that

 would be applicable if a six-year limitation period were to apply to PPPA claims—

 unlike here, where the original complaint in this case was filed August 10, 2022,

 eleven days after the six-year limitation period expired. Accordingly, the same



 1
   NYMH also notes that the report and recommendation in Briscoe has not been
 adopted by the district judge, and, in fact, the time for filing oppositions to that report
 and recommendation has not yet passed. Briscoe is therefore neither precedential nor
 instructive. See United States v. Gaver, No. 3:16-CR-88, 2017 WL 1134814, at *11,
 n.6 (S.D. Ohio Mar. 27, 2017) (“A Report and Recommendation has no precedential
 value unless and until adopted by the district court”); Leon v. Washington Mut. Bank,
 F.A., 164 F. Supp. 2d 1034, 1039 n.4 (N.D. Ill. 2001) (“Because the report and
 recommendation of the magistrate judge may or may not be accepted by the district
 judge in Rhode Island, it has no precedential authority in this case.”); Innis v.
 Bankers Tr. Co. of S. Dakota, No. 416CV00650RGESBJ, 2017 WL 4876240, at *5
 n.2 (S.D. Iowa Oct. 13, 2017) (citations omitted) (“The Court finds this
 [supplemental] authority unpersuasive as it carries no precedential value. This
 opinion is a report and recommendation to which the plaintiffs have objected; a
 district judge must review the decision de novo.”) (internal citations omitted).


                                             5
Case 2:22-cv-11850-MFL-EAS ECF No. 21, PageID.1746 Filed 03/08/23 Page 11 of 13




 timeliness issue presented before this Court was not before Judge Jarbou in the

 Bozung matter. Thus, respectfully, this Court should perform an independent

 analysis of NYMH’s timeliness arguments.

                                CONCLUSION

       For the foregoing reasons, the Court should grant NYMH’s Motion for Leave

 to File Supplemental Authority and should thereafter deny Plaintiff’s Motion to

 Amend her FAC.

 Date: March 8, 2023                 Respectfully submitted,

                                     /s/ Kristen C. Rodriguez
                                     DENTONS US LLP
                                     Kristen C. Rodriguez
                                     Emily A. Golding
                                     233 S. Wacker Drive, Suite 5900
                                     Chicago, Illinois 60606-6404
                                     Tel: (312) 876-8000
                                     kristen.rodriguez@dentons.com
                                     emily.golding@dentons.com

                                     Deborah H. Renner
                                     1221 Avenue of the Americas
                                     New York, New York 10020-1089
                                     Tel: (212) 398 5793
                                     deborah.renner@dentons.com

                                     CLARK HILL PLC
                                     Peter B. Kupelian (P31812)
                                     Carol G. Schley (P51301)
                                     151 South Old Woodward Avenue,
                                     Suite 200
                                     Birmingham, Michigan 48009
                                     Tel: (248) 530-6336
                                     pkupelian@clarkhill.com



                                       6
Case 2:22-cv-11850-MFL-EAS ECF No. 21, PageID.1747 Filed 03/08/23 Page 12 of 13




                                    cschley@clarkhill.com

                                    Counsel for Defendant,
                                    New York Media Holdings, LLC




                                      7
Case 2:22-cv-11850-MFL-EAS ECF No. 21, PageID.1748 Filed 03/08/23 Page 13 of 13




                                Certificate of Service

       I hereby certify that on March 8, 2023, a copy of the foregoing document was

 filed electronically and served by e-mail to all parties by operation of the Court’s

 electronic filing system or by mail to anyone unable to accept electronic filing as

 indicated on the Notice of Electronic Filing.

                                        /s/ Kristen C. Rodriguez
                                        Kristen C. Rodriguez
